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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-cv-00992-RBJ-KLM

   AHMAD AJAJ,

           Plaintiff,

   v.

   FEDERAL BUREAU OF PRISONS,

           Defendant.
                                                               ______________________________

        PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
                                                                  ______

           Pursuant to this Court’s Practice Standards, Plaintiff Ahmad Ajaj, through counsel,

   submits the following Proposed Findings of Fact and Conclusions of Law with respect to his

   claim against the Federal Bureau of Prisons (“BOP”) under the Religious Freedom Restoration

   Act (“RFRA”). 42 U.S.C. § 2000bb-1.

                                        FINDINGS OF FACT

   Background

        1. Plaintiff Ahmad Ajaj is incarcerated by BOP and currently resides in the United States

           Penitentiary in Terre Haute, Indiana (“USP-Terre Haute”). Defendant’s Ex. C-9;1

           Testimony of Ahmad Ajaj.

        2. Defendant BOP is a federal law enforcement agency subdivision of the United States


   1
    On Monday, August 27, 2018, Mr. Ajaj, through counsel, moved to admit all stipulated
   exhibits. The Court granted the motion. Doc. 285 at 1. The exhibits cited herein were admitted in
   evidence or are BOP Program Statements of which the Court may take judicial notice pursuant to
   Fed. R. Evid. 201. See fn. 3.
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         Department of Justice and is responsible for the administration of federal prisons. See 28

         C.F.R. § 511.10.

      3. Mr. Ajaj is a Sunni Muslim. Testimony of Ahmad Ajaj.

      4. Mr. Ajaj views the Qur’an and hadith as the primary sources of his beliefs. Testimony of

         Ahmad Ajaj; see also Testimony of Dr. Seth Ward; Testimony of Ammar Amonette.

      5. The Qur’an is the Islamic sacred book, believed to be the word of Allah (God) as dictated

         to the prophet Muhammad. Testimony of Dr. Seth Ward; Testimony of Ammar

         Amonette.

      6. The hadith is a collection of traditions containing sayings of the prophet Muhammad that,

         with accounts of his daily practice (the sunnah), constitute the second major source of

         Islamic law. Testimony of Dr. Seth Ward; Testimony of Ammar Amonette.

      7. Muhammad was the founder of Islam. According to Islamic doctrine, he was a prophet

         and Allah’s messenger. Sunni Muslims often use the hadith and sunnah to determine

         what actions are required, commended, neutral, reprehensible, and prohibited in various

         contexts. Testimony of Dr. Seth Ward; Testimony of Ammar Amonette.

      8. There are five pillars of Islamic practice: declaration, prayer, charity, fasting, and

         pilgrimage. Testimony of Dr. Seth Ward; see also Plaintiff’s Ex. 25 at BOP_12123-26.

      9. Islamic prayer includes both a weekly congregate service (Jumu’ah) and five daily

         prayers (salat). Testimony of Dr. Seth Ward; Testimony of Ammar Amonette; Plaintiff’s

         Ex. 25 at BOP_12124.

      10. Some pious Muslims, including Mr. Ajaj, believe they must pray the five daily salat

         prayers with at least one other Muslim, as the spiritual reward for prayer is increased


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          when performed in a group. Testimony of Dr. Seth Ward; Testimony of Ammar

          Amonette; Testimony of Ahmad Ajaj; Plaintiff’s Ex. 4 at BOP_1269.

       11. Mr. Ajaj has used the BOP’s Administrative Remedy Program (also known as the BOP’s

          grievance procedure) to formally request accommodation of his religious beliefs.

          Testimony of Ahmad Ajaj.

       12. Defendant BOP conceded that Mr. Ajaj’s religious beliefs are sincerely held. Defendant

          Opening Statement.2

   BOP Policy3

       13. Defendant BOP’s national policies, called “Program Statements,” govern each of its

          institutions. They are “‘permanent’ Bureau policies and procedures.” Attachment 2 at §

          2.1. These policies are implemented through formal directives known as “Complex” and

          “Institution Supplements.” Testimony of Chaplain Castle. See also Attachment 2 at §§

          1.2.1, 1.2.3.

       14. “Generally, it is preferable that Bureau-wide instructions and requirements be

          communicated by formal directives rather than by such means as memoranda . . . since

          these less formal documents are not authenticated, numbered, annually reviewed, or



   2
     During its opening statement, Defendant BOP conceded that it did not contest the sincerity of
   Mr. Ajaj’s beliefs. The citations to the opening statement throughout these factual findings are
   references to this concession and should not be construed as an attempt to cite to the opening
   statement as evidence.
   3
     Federal Rule of Evidence 201 allows courts to take judicial notice of adjudicative facts that are
   “not subject to reasonable dispute” because they are “generally known within the trial court’s
   territorial jurisdiction” or “can be accurately and readily determined from sources whose
   accuracy cannot reasonably be questioned.” Fed. R. Evid. 201. Both parties agree that the Court
   can take judicial notice of BOP Program Statements. Attachment 1 at 3 n.5 (Letter from
   Defendant Counsel stating “…the Court can take judicial notice of Program Statements”).
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           historically traced.” Attachment 2 at § 1.1.

      15. “Requirements issued by persons without such delegated authority or policy not issued in

           conformity with [Attachment 2] are not enforceable as policy and may not be cited,

           relied upon, or otherwise used to carry out any Bureau policy or procedure unless an

           exception is made by the Director in writing.” Id. (emphasis in original).

      16. “It is vital that staff, including those who have authority to issue formal directives, not

           attempt to use less formal communications to change or replace a formal directive.” Id.

   Halal

      17. Certain foods are lawful and others are unlawful in Islam, and there are many

           specifications regarding the consumption of animal-based products. Lawful foods are

           referred to as “halal,” and unlawful foods are referred to as “haram.” Testimony of Dr.

           Seth Ward; Testimony of Ammar Amonette.

      18. The BOP offers four menus to all prisoners in its custody through Food Services: a

           Certified Religious Diet menu, a no-flesh menu, a no-pork menu, and the main line menu.

           Testimony of Michael Castle; see also Defendant’s Ex. A-10 at § 18(a).

      19. Items on the Certified Religious Diet menu are certified kosher and are intended to meet

           kosher specifications. Defendant’s Ex. A-5 at § 4(1)(d).

      20. In order to receive a religious diet, prisoners must complete a six-question “religious diet

           interview.” Testimony of Chaplain Castle; Defendant’s Ex. A-10 at § 18(a)(2).

      21. After completing the interview, a Chaplain reviews the prisoner’s answers and

           determines which diet will best meet his religious dietary needs. Id.

      22. The BOP does not offer a halal certified menu through Food Services. Testimony of


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         Michael Castle.

      23. Prisoners at USP-Terre Haute are able to purchase through commissary consumable

         items approved by the Warden and designated staff. Consumable items sold through

         commissary are meant “to complement, not supplement, [the] diet . . . provided to the

         inmate population.” Testimony of Jeffrey Cheeks; Defendant’s Ex. A-3 at § 3.3(a).

      24. The BOP also offers a Special Purpose Order (“SPO”) program through its Trust Fund

         department. “An SPO is an inmate request to purchase an approved item or items not

         routinely sold in the Commissary.” Defendant’s Ex. A-3 at § 3.5.

      25. According to national BOP policy, the Commissary must make available for purchase, or

         sell through the SPO Program, a minimum of four kosher/halal-certified entrees. Id. at §

         3.3(f)(3).

      26. The four Kosher/Halal-certified entrees USP-Terre Haute has made available through

         SPO prior to Friday, August 24, 2018, are made by J&M/My Own Meals. See Testimony

         of Jeffrey Cheeks; Plaintiff’s Ex. 39.

      27. Mr. Ajaj sincerely believes that Islam prohibits him from consuming alcohol, pork

         products, blood and carrion, and meat that has not been slaughtered according to halal

         standards. The prohibition against pork and alcohol extends to any products derived from

         swine or alcohol, including gelatin, lard, and various additives. Defendant’s Opening

         Statement; Testimony of Dr. Seth Ward; Testimony of Ahmad Ajaj.

      28. Most Islamic authorities prohibit the consumption of halal foods that have been cross-

         contaminated by haram ingredients. Cross-contamination occurs if alcohol, pork by-

         products, or other prohibited ingredients are added to an otherwise halal food. Halal


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         foods can also be cross-contaminated if they come into contact with haram ingredients.

         Testimony of Dr. Seth Ward.

      29. Mr. Ajaj sincerely believes that in order to observe a halal diet, he must eat foods that are

         permitted, and must abstain from foods that are forbidden by Islamic law. Defendant’s

         Opening Statement; Testimony of Ahmad Ajaj.

      30. Mr. Ajaj sincerely believes that he must eat halal meat and not maintain a vegetarian diet

         according to the teachings and practices of the Prophet Muhammad. Id.

      31. Mr. Ajaj’s understanding of halal standards relies upon Islamic text and tradition and

         comports with the requirements of several halal certifying agencies, including the Islamic

         Food & Nutrition Council of America (“IFANCA”) and the Halal Food Standards

         Alliance of America (HFSAA). Testimony of Dr. Seth Ward; Testimony of Ammar

         Amonette; Testimony of Ahmad Ajaj.

      32. For years, Mr. Ajaj has asked the BOP to provide him with a diet that comports with his

         religious beliefs about food through grievances, “cop-outs” (written requests to staff

         members), and verbal requests. Testimony of Ahmad Ajaj.

      33. Until Friday, August 24, 2018, the last business day before trial, Mr. Ajaj did not have

         access to a certified halal diet that comports with his religious beliefs. Defendant’s Ex. C-

         9 at BOP_00019441; Testimony of Ismael Oliver; Testimony of Ahmad Ajaj.

      34. On Wednesday, August 22, 2018, Defendant BOP purchased a short-term supply (170

         trays) of halal meals from My Own Meals (also known as “J&M”). Defendant’s Ex. C-8

         at BOP_00019434-36.

      35. Defendant BOP has been aware of the availability of pre-packaged halal-certified meals


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         sold by J&M because it previously sold those J&M entrees to prisoners through its

         Special Purpose Order (“SPO”) program in the Trust Fund department. Plaintiff’s Exhibit

         39; Testimony of Jeffrey Cheeks.

      36. On Friday, August 24, 2018, Defendant BOP received the halal meal trays it had

         purchased two days earlier at USP-Terre Haute. Defendant’s Ex. C-8 at BOP_00019433;

         Testimony of Ismael Oliver.

      37. Defendant BOP, through Ismael Oliver, also purchased frozen halal-certified entrees

         from the Saffron Road company. Testimony of Ismael Oliver; Testimony of Ahmad Ajaj.

      38. On Friday, August 24, 2018––the last business day before the start of trial––Defendant

         BOP, through Warden Jeffrey Krueger, also issued a memorandum (“Krueger memo”)

         stating that it will provide Mr. Ajaj with these halal meals three times per day “until a

         longer-term solution is reached.” Defendant’s Ex. C-9 at BOP_00019441; Testimony of

         Jeffrey Krueger.

      39. The Krueger memo may be rescinded or otherwise abrogated by the Warden or other

         authorized party. Testimony of Jeffrey Krueger.

      40. The BOP may stop providing the halal-certified meals described in the Krueger memo if

         those meals are not approved by the BOP’s Chief Dietitian. Defendant’s Ex. C-9 at

         BOP_00019441; Testimony of Jeffrey Krueger.

      41. The BOP presented no evidence that its Chief Dietician has approved the meals that the

         BOP began providing to Mr. Ajaj on August 24, 2018. See Testimony of Jeffrey Krueger.

         (implying Chief Dietician had not completed review as of August 27, 2018).

      42. The BOP may stop providing the halal-certified menu outlined in the Krueger memo if


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         Mr. Ajaj is transferred from USP-Terre Haute. Testimony of Jeffrey Krueger;

         Defendant’s Ex. C-9 at BOP_00019441 (stating that if Mr. Ajaj is transferred the meals

         will be subject to review by the Bureau’s Central Office).

      43. The BOP may stop providing the halal-certified menu outlined in the Krueger memo if

         allowed or required by the guidelines set out in Bureau Program Statement 5360.09 and

         4700.06. Testimony of Jeffrey Krueger; Defendant’s Ex. C-9 at BOP_00019441; see also

         Defendant’s Ex. A-5 at § 4(1)(e) (“Inmates participating in the Certified Food

         Component are not authorized to consume mainline or hot bar food items . . . . Violations

         will be reported as required by the Program Statement Religious Beliefs and Practices.”);

         Defendant’s Ex. A-10 at § 18(a)(5)(b) (“Approval for an inmate’s religious diet may be

         withdrawn by the chaplain if the inmate is documented as being in violation of the terms

         of the religious diet program to which the inmate has agreed in writing . . . . Those who

         are observed eating from the main line may be removed temporarily from that

         component. In addition, those who purchase and/or consume non-certified foods from the

         commissary may also be temporarily removed from that component.”).

      44. Since Friday, August 24, 2018, through the end of trial on August 28, 2018, Defendant

         BOP served Mr. Ajaj the halal-certified shelf-stable meals purchased from J&M and

         Saffron Road twice daily. Testimony of Ismael Oliver; Testimony of Ahmad Ajaj.

      45. Mr. Ajaj is satisfied with the halal-certified shelf stable meals Defendant BOP has

         provided him. Testimony of Ahmad Ajaj.

      46. However, Mr. Ajaj’s diet is still not completely halal-certified, or in compliance with the

         Krueger memo, because he continues to receive uncertified foods for breakfast and as


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          side dishes, including bread and condiments. Testimony of Ahmad Ajaj.

      47. As of Friday, August 24, 2018, other Muslim prisoners, besides Mr. Ajaj, who wish to eat

          a halal diet may only do so if they purchase the shelf-stable halal-certified J&M meals at

          their own expense through SPO at commissary. Defendant’s Ex. A-17 at

          BOP_00019440; see also Defendant’s Ex. C-9 (indicating that the accommodation is

          specific and limited to Mr. Ajaj).

   Imam

      48. Mr. Ajaj has also requested that the BOP provide him meaningful access to an imam.

          Testimony of Ahmad Ajaj; see also Doc. 29.

      49. An imam is a leader in the Islamic faith. Imams are often selected by the Muslim

          communities they serve, and Islam does not require that an imam have the formal

          ordination or training that is frequently required in other religious traditions. Imams are

          most often chosen because they possess the most extensive knowledge of authoritative

          Islamic sources such as the Qur’an and hadith. Testimony of Dr. Seth Ward; Testimony

          of Ammar Amonette.

      50. Mr. Ajaj sincerely believes he is religiously required to study Islam and to seek guidance

          when he has questions about how to live or act in accordance with Islamic law.

          Defendant’s Opening Statement; Testimony of Ahmad Ajaj.

      51. Mr. Ajaj sincerely believes that in order to obtain the information and guidance he is

          religiously required to pursue, he must be able to speak with someone with extensive

          knowledge of Islamic law and authority, including the Qur’an, hadith, and sunnah. Id.

      52. The BOP provides spiritual leaders to prisoners through various means including full-


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         time chaplains, contractors, and volunteers. All full-time religious leaders employed by

         the BOP are called “chaplain,” regardless of the religious tradition to which they adhere.

         Defendant’s Ex. A-10 at §§ 10, 12.

      53. At USP-Terre Haute “Institution chaplains provide pastoral care, counseling, religious

         instruction; [and] administer sacraments, rites, and rituals to inmates and institution staff .

         . . .” Plaintiff’s Ex. 49 at BOP_00015395.

      54. Full-time chaplains at USP-Terre Haute “provide supervision seven days a week and are

         available upon request to provide pastoral care, counseling, religious education, and

         religious instruction to [prisoners] and staff.” Defendant’s Ex. A-11 at § VI.

      55. Contractors are supposed to provide pastoral care for those prisoners who do not have

         access to a chaplain of their own tradition. An “institution’s chaplain may contract with

         representatives of faith groups in the community to provide specific religious services

         which the chaplain cannot personally deliver, due to, ordinarily, religious prescriptions or

         ecclesiastical constraints to which the chaplain adheres. The term ‘representatives of faith

         groups’ includes both clergy and spiritual advisors.” Defendant’s Ex. A-10 at § 12.

      56. Similarly, volunteers are meant to assist prisoners “in observing their religious beliefs.”

         Id.

      57. The Religious Services Department at USP-Terre Haute is tasked with establishing and

         maintaining contact with diverse clergy, spiritual advisors, teachers, and other

         representatives of various religious groups within the community. Defendant’s Ex. A-11

         at § IX(A).

      58. Chaplains are statutorily required to arrange pastoral visits with a representative of a


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         prisoner’s faith if requested. 28 C.F.R. § 548.19 (“If requested by an inmate, the chaplain

         shall facilitate arrangements for pastoral visits by a clergyperson or representative of the

         inmate’s faith.”) (emphasis added).

      59. The BOP allows prisoners to request to designate a “minister of record.” A minister of

         record is “defined as that spiritual leader, clergy person, or official representative, whom

         the inmate identifies and the chaplain verifies, as a minster of the inmate’s religion of

         record.” Defendant’s Ex. A-10 at § 17(b)(1).

      60. A prisoner’s “religion of record” or “religious preference” is maintained in the BOP’s

         electronic filing system, called SENTRY. Defendant’s Ex. A-11 at § V.

      61. In order to meet with an imam through the minister of record option, a prisoner’s

         SENTRY designation must be “Muslim.” See Defendant’s Ex. A-10 at § 17(b)(1)

         (indicating that to be designated as a minister of record, the prisoner must identify, and

         the chaplain verify that the individual is “a minister of the inmate’s religion of record.”).

      62. Prisoners are required to identify their own minister of record. Id. (“An inmate will

         identify a minister of record by submitting a written request to the chaplain. The clergy

         person the inmate identifies will also submit a request for consideration as the minister of

         record to the chaplain.”).

      63. Visits between a prisoner and his minister of record are treated the same as other social

         visits. Id. “Visits with the minister of record . . . [are] accommodated in the visiting room

         during regularly scheduled visiting hours . . . .” Id. at § 17(b)(3).

      64. Prisoners at USP-Terre Haute are required to submit to a strip-search that exposes their

         private parts in order to enter the visiting room. Testimony of Ajaj.


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      65. Defendant BOP trains its staff that “Muslim men and women must dress modestly and

         that Islam prohibits Muslims from uncovering or viewing others’ private parts in public. .

         . . They should be allowed to remain covered from the navel to the knee.” Plaintiff’s Ex.

         42 BOP_00015111.

      66. Mr. Ajaj did not know any imams in the United States prior to being incarcerated and

         does not have contact with any American imams now. Testimony of Ahmad Ajaj.

      67. Mr. Ajaj requested that the BOP allow him to contact his family imam in Palestine. That

         request was denied. Testimony of Ahmad Ajaj.

      68. Mr. Ajaj requested that the BOP allow him to contact mosques and Islamic Centers in

         Indiana in order to recruit Islamic volunteers to serve the Muslim population at USP-

         Terre Haute. That request was also denied. Testimony of Ahmad Ajaj.

      69. Mr. Shnewer, a Muslim prisoner housed in a different unit at USP-Terre Haute, has

         attempted to arrange for a local volunteer imam to meet with him at USP-Terre Haute.

         When that imam contacted the institution to arrange a visit, nobody responded.

         Testimony of Mohamad Shnewer.

      70. Since arriving at USP-Terre Haute, Mr. Shnewer was able to talk by phone with his

         family imam, located in New Jersey, on one occasion because his mother happened to be

         at the mosque at the time Mr. Shnewer called her, and she handed her cell phone to the

         imam. Testimony of Mohamad Shnewer.

      71. In 2002, Defendant BOP arranged for Mr. Ajaj to speak on the phone with a BOP imam

         at another institution for one hour each week when no imam was available at the

         institution where he was housed. Testimony of Ahmad Ajaj.


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      72. The BOP also arranged for Mr. Ajaj to speak with a BOP imam over the phone one time

         in 2017. Testimony of Ahmad Ajaj.

      73. The BOP currently employs thirteen full-time Islamic chaplains (imams) in various

         institutions across the country. Testimony of Michael Castle.

      74. The BOP can make its chaplains available in person to prisoners at institutions other than

         their primary institution for short periods via “temporary duty assignments.” Id.

      75. Temporary duty assignments can be used to triage chaplaincy service-gap areas at an

         institution. Id.

      76. The BOP transferred Mr. Ajaj from USP-Florence to USP-Terre Haute in January 2018.

         Following his transfer, the BOP hired a full-time imam at USP-Florence. Id.; Testimony

         of Ahmad Ajaj.

      77. Defendant BOP has not hired a full-time imam at USP-Terre Haute. Testimony of

         Michael Castle.

      78. At USP-Terre Haute, there are four full-time chaplains, all of whom are Christian. Id.

      79. Mr. Ajaj is currently participating in the Life Connections Program (LCP) at USP-Terre

         Haute. Testimony of Ahmad Ajaj.

      80. The LCP is a residential pre-release program offered in multiple BOP institutions.

         Defendant’s Ex. B-2 at § 1.

      81. The LCP uses a prisoner’s personal belief system to change behavior, improve

         institutional adjustment, and reduce recidivism rates. Id.

      82. Because the LCP is an 18-month residential pre-release program, Mr. Ajaj is currently

         housed in a unit at USP-Terre Haute exclusively for LCP participants. Id. at §§ 1, 3(c), 8.


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       83. To be selected for participation in the LCP, prisoners must (1) apply voluntarily; (2) not

          have a written deportation order;4 (3) receive a recommendation from relevant

          components (Unit Team, Associate Warden, and Chaplaincy Team); (4) be approved by

          the sending institution’s Warden; (5) not be in Financial Responsibility Program (“FRP”)

          refuse status; (6) be meeting General Educational Development (“GED”) obligations; (7)

          have met English as a Second Language (“ESL”) obligations; (8) be willing to be

          designated to the LCP site; and (9) participate in a three-session orientation. Id. at § 3(a).

       84. LCP participants may choose between a secular and spiritual curricular track. Id. at §

          5(a)(1)-(2). The spirituality track offers opportunities “for spiritual reflection (whether

          secular or religious), direction and counseling” and participation “in institution worship

          services consistent with boundaries of faith or secular beliefs.” Id. at § 5.

       85. LCP participants are further divided into cohorts organized by prisoners’ belief systems.

          Each cohort participates in LCP programming as a group. Activities are conducted with a

          view toward catering to each cohort’s shared belief system. Testimony of Jonathan

          Sutter; Defendant’s Ex. B-2 at § 3(b)(2).

       86. The BOP employs contract “Spiritual Guides” to serve the LCP unit at USP-Terre Haute.

          Testimony of Jonathan Sutter; Plaintiff’s Ex. 47 at BOP_18318; Defendant’s Ex. B-17 at

          BOP_19263-65.

       87. Until August 20, 2018, seven days before trial, Mr. Ajaj had no access to an imam at

          USP-Terre Haute. Testimony of Ahmad Ajaj; Defendant’s Ex. B-17 at BOP_19243


   4
     Mr. Ajaj did not list the second criterion listed in Defendant’s Exhibit B-2 as he is excepted
   from this requirement since he is a high security prisoner with at least 30 months remaining
   before release. See Defendant’s Ex. B-2 at §3(a).
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         (reflecting an award/effective date of August 20, 2018).

      88. On August 16, 2018, 11 days before trial, Mr. Bashar Murad signed a 30-day renewable

         contract with the BOP to provide temporary services as an Islamic Spiritual Guide to

         Muslim prisoners in the LCP unit at USP-Terre Haute. Testimony of Chaplain Jonathan

         Sutter; see also Defendant’s Ex. B-17 at BOP_19261-62 (authorizing the utilization of

         Mr. Murad’s services on August 17, 2018).

      89. Mr. Murad has previously been employed as a contract imam and Islamic Spiritual Guide

         for the LCP at USP-Terre Haute. In 2017, his contracts were not renewed. Testimony of

         Johnathan Sutter.

      90. The BOP deviated from normal hiring procedures in hiring Mr. Murad in August 2018.

         The BOP justified its deviation “[d]ue to the urgent need of the facility and expense

         related to court litigation . . . .” Defendant’s Exhibit B-17 at 19261; Testimony of Jeffrey

         Cheeks.

      91. Mr. Murad has espoused views contrary to those sincerely-held by Sunni Muslims like

         Mr. Ajaj. Testimony of Ahmad Ajaj; Testimony of Mohamad Shnewer; Testimony of

         Raheem Hankerson. Specifically, Mr. Murad told Muslim inmates they may drink

         alcohol—something that is prohibited in the Qu’ran. Testimony of Raheem Hankerson;

         Testimony of Dr. Seth Ward. Mr. Murad has also taught about reincarnation, which is

         contrary to Sunni Muslim beliefs about the afterlife. Testimony of Mohamad Shnewer;

         Testimony of Dr. Seth Ward.

      92. Sunni Muslims view a Muslim who espouses views that are contrary to the central tenets

         of Islam as an “apostate.” Testimony of Dr. Seth Ward.


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      93. Similarly, disavowing one’s status as a Muslim is considered apostasy. Mr. Ajaj sincerely

         believes that disavowing Islam makes him an apostate. Testimony of Dr. Seth Ward;

         Testimony of Ahmad Ajaj.

      94. When faced with teachings that are blasphemous, offered by someone who purports to be

         Muslim, Sunni Muslims believe they must either prevent themselves from hearing the

         teachings or speak out against them. Testimony of Dr. Seth Ward.

      95. Because Mr. Murad, as the BOP’s designated Islamic Spiritual Guide for the LCP, has

         espoused views that are directly contrary to the religious beliefs of Sunni Muslims, Mr.

         Ajaj sincerely believes he is required to avoid Mr. Murad’s teachings because Mr. Murad

         invokes those views in his teachings. Testimony of Ahmad Ajaj; see also Testimony of

         Dr. Seth Ward.

      96. There is no other imam provided by the BOP at USP-Terre Haute. Accordingly, Mr. Ajaj

         remains unable to access the spiritual guidance he sincerely believes he is required to

         seek. Testimony of Ahmad Ajaj.

   Hobson’s Choice

      97. Prisoners’ cohort assignments in the LCP program are based on their religious

         designation in SENTRY. Accordingly, the BOP requires those prisoners designated as

         “Muslim” in SENTRY to attend the “Islamic Spiritual Guide” classes that have been

         taught by Mr. Murad since his arrival at the prison on August 22, 2018. Testimony of

         Michael Castle; Testimony of Jonathan Sutter.

      98. The BOP is statutorily prohibited from requiring prisoners to attend religious activities.

         28 C.F.R. § 548.15. However, the LCP Chaplain, Mr. Sutter, has directed various Muslim


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         LCP participants that they will be removed from the LCP if they do not attend the

         Spiritual Guide classes taught by Mr. Murad. Testimony of Jonathan Sutter; Testimony of

         Raheem Hankerson; Testimony of Ahmad Ajaj.

      99. “LCP participants who do not perform adequately in Spiritual Guide classes, have four

         unexcused absences from LCP activities, fail to turn in a passing essay or Word of the

         Day, or in any other way do not adequately fulfill LCP program requirements will [] be

         recommended for expulsion . . . . An accumulated total of four unexcused absences from

         [a prisoner’s] Spiritual Guide Class warrant expulsion.” Defendant’s Ex. B-5 at

         BOP_18320.

      100. “LCP is a residential program. Ordinarily, all inmates living in the assigned housing

         unit will be waiting to participate, engaged in LCP, or have completed the program . . . .

         Upon successfully completing LCP, participants are ordinarily moved from the program

         unit to another unit or institution to make room for new participants.” Defendant’s Ex. B-

         2 at § 8.

      101. Prisoners in the LCP unit are permitted to perform some of their daily (salat) prayers

         with others in a designated area in the unit. This is an exception to the BOP’s general rule

         prohibiting group prayer in all general population housing units and common areas

         besides the chapel at USP-Terre Haute. The BOP prohibits Muslims from praying the

         daily (salat) prayers in the chapel. Testimony of Ahmad Ajaj; Testimony of Mohamad

         Shnewer.

      102. Muslims at USP-Terre Haute are only able to access the chapel for the weekly Jumu’ah

         service. Defendant’s Ex. A-21 (allowing “Islam Jumu’ah Service” from 1:00-2:00 pm on


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          Fridays).

       103. A warden “may limit participation in a particular religious activity or practice to the

          members of that religious group. Ordinarily, when the nature of the activity or practice

          (e.g., religious fasts, wearing of headwear, work proscription, ceremonial meals)

          indicates a need for such a limitation, only those inmates whose files reflect the pertinent

          religious preference will be included.” Defendant’s Ex. A-10 at § 7.

       104. “In determining whether to allow an inmate to participate in a specific religious

          activity… staff may wish to refer to the information reported on the intake screening

          form and the inmate’s religious preference history. Inmates showing “No Preference” or

          indicating membership in a different faith group may be restricted from participating in

          activities deemed appropriate for members only.” Id. at § 8.

       105. If Mr. Ajaj refuses to attend Mr. Murad’s classes, he will be expelled from LCP.

          Testimony of Jonathan Sutter; see also ¶¶ 99 & 100.

       106. If Mr. Ajaj attends Mr. Murad’s classes, he will either violate his sincerely held

          religious beliefs by listening to teachings he considers blasphemous or risk being

          sanctioned for speaking up against the blasphemous teachings. Testimony of Ahmad

          Ajaj; see also ¶¶ 88-96.

       107. If Mr. Ajaj is expelled from LCP, he will lose his ability to pray the daily salat prayers in

          a group with other Muslims, thereby foregoing a practice required by his sincerely held

          beliefs.5 Testimony of Ahmad Ajaj; see also ¶¶ 102 & 103.


   5
    Mr. Ajaj respectfully requests that the Court take judicial notice of the record in this case,
   which in pertinent part, reflects that prisoners are only able to participate in congregate salat
   prayers in the LCP unit. Doc. 228-22 (BOP 30(b)(6) designee’s deposition testimony stating that
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          108. If Mr. Ajaj voluntarily withdraws from the LCP, there is no guarantee he will be

             readmitted to the program if he reapplies after a new imam is hired. Testimony of

             Chaplain Sutter; see also ¶ 84 (noting that admission requirements include lack of

             deportation order).6

          109. If Mr. Ajaj wishes to stay in the LCP, but not attend Mr. Murad’s classes, he will be

             required to change his religious designation in SENTRY in order to attend the Values &

             Responsibilities classes offered to those individuals not of the Christian or Islamic faith.

             To change his religious designation in SENTRY in this manner requires Mr. Ajaj to

             disavow his religion and status as a Muslim, thereby engaging in apostasy in violation of

             his sincerely-held religious beliefs. Testimony of Ahmad Ajaj; see also Testimony of Dr.

             Seth Ward; ¶ 95.

          110. Additionally, if Mr. Ajaj changes his religious designation in SENTRY, he risks losing

             access to his halal diet and other accommodations limited to members of the religious

             group including religious fasts, wearing of headwear, work proscription, ceremonial

             meals. See ¶¶ 104 & 105.

                                        CONCLUSIONS OF LAW

     I.      RFRA Elements and Burdens of Proof

          111. Mr. Ajaj’s claims arise under RFRA. Congress enacted RFRA, 107 Stat. 1488, 42

             U.S.C. § 2000bb et seq., “in order to provide very broad protection for religious liberty.”


   group prayer is not authorized in any open population setting in any facility in the BOP); Doc.
   228-23 (clarifying that no BOP policy allows for congregational prayers outside of chapel areas);
   Doc. 228-26 (stating that LCP classroom 5 may be used for group prayer daily if possible).
   6
     Mr. Ajaj is technically ineligible for the LCP as he has a written deportation detainer. See Doc.
   234 at 2, n.2; Doc. 234-2 at 1 (noting a deportation detainer).
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         Burwell v. Hobby Lobby Stores, Inc., 134 S.Ct. 2751, 2760 (2014); Holt v. Hobbs, 135 S.

         Ct. 853, 859 (2015).

      112. A plaintiff makes a prima facie case under RFRA by showing that the government

         substantially burdens his sincerely-held religious exercise. Holt v. Hobbs, 135 S. Ct. 853,

         863 (2015); Ghailani v. Sessions, 859 F.3d 1295, 1305-06 (10th Cir. 2017); Hobby Lobby

         Stores, Inc. v. Sebelius, 723 F.3d 1114, 1126 (10th Cir. 2013), aff’d sub nom. Burwell,

         134 S. Ct. 2751 (quoting Kikumura v. Hurley, 242 F.3d 950, 960 (10th Cir. 2001)).

      113. Once a plaintiff establishes a prima facie case, the burden shifts to the government to

         show that it has a compelling interest in burdening the plaintiff’s religious exercise and

         that it is employing the least restrictive means necessary to serve that interest. 42 U.S.C.

         § 2000bb-1(b); Holt, 135 S. Ct. at 863; Ghailani, 859 F.3d at 1305-06; Kikumura, 242

         F.3d at 962.

      114. Under RFRA, a sweeping assertion of a compelling government interest is insufficient,

         and courts “look[] beyond broadly formulated interests” and “scrutinize[] the asserted

         harm of granting specific exemptions to a particular religious claimant.” Gonzales v. O

         Centro Espirita Beneficiente Uniao Do Vegetal, 546 U.S. 418, 431 (2006).

      115. The government bears the burden of demonstrating “its policy is the least restrictive

         means of furthering [its articulated] interest, a standard that is ‘exceptionally demanding’

         and requires the government to ‘sho[w] that it lacks other means of achieving its desired

         goal without imposing a substantial burden on the exercise of religion by the objecting

         part[y].’” Holt, 135 S. Ct. at 858 (quoting Hobby Lobby, 134 S.Ct. at 2780).




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          116. Each party must meet its burden by a preponderance of the evidence. See, e.g.,

              O’Malley, Grenig & Lee, Federal Jury Practice & Instructions (5th ed.), § 104.01; see

              also 42 U.S.C. § 2000bb–2(3) (“[T]he term ‘demonstrates’ means meets the burdens of

              going forward with the evidence and of persuasion”).

    II.       Halal

                  A. Mr. Ajaj’s claim for a halal diet is not moot.

          117. The BOP claims that its issuance of the Krueger memo on the eve of trial authorizing the

              provision of “3 halal meals per day for [Mr. Ajaj] . . .until a longer-term solution is

              reached” eliminates any substantial burden placed on Mr. Ajaj’s religious exercise.

              Accordingly, Defendant BOP argues, the Krueger memo renders any relief the Court may

              grant unnecessary.

          118. The Krueger memo expressly contemplates that the provision of halal-certified shelf-

              stable meals to Mr. Ajaj is a stop-gap solution to a long-term problem. See Defendant’s

              Exhibit C-9.

          119. Despite the directive issued by Warden Krueger, however, Mr. Ajaj continues to be

              served foods that are not certified halal each day for breakfast and as side dishes to lunch

              and dinner. See testimony of Ismael Oliver; Testimony of Ahmad Ajaj.

          120. Because Mr. Ajaj is not receiving a halal-certified diet for all three meals, there is still

              relief this Court can grant, and his claim is not moot. See Rezaq v. Nalley, 677 F.3d 1001,

              1010 (10th Cir. 2012) (“A case is not moot when there is some possible remedy, even a

              partial remedy or one not requested by the plaintiff.”)




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      121. Mr. Ajaj’s halal claim remains live. The BOP’s provision of some halal-certified meals

         to Mr. Ajaj has not “completely and irrevocably eradicate[d] [ ] the effects of the alleged

         violation,” because he is still receiving haram (forbidden) breakfast foods and sides (such

         as bread and condiments). See Los Angeles Cty. v. Davis, 440 U.S. 625, 631 (1979).

                                1. Mr. Ajaj met his prima facie burden to demonstrate that he has
                                   a sincerely-held religious belief in observing a halal diet.


      122. In assessing religious sincerity, courts do not inquire “whether a particular belief or

         practice is ‘central’ to a prisoner’s religion,” Abdulhaseeb v. Calbone, 600 F.3d 1301,

         1314 (10th Cir. 2010) (quoting Cutter v. Wilkinson, 544 U.S. 709, 725 n. 13 (2005)), or

         whether other members of the same faith share the plaintiff’s beliefs. See Burwell., 134 S.

         Ct. at 2779 (emphasizing that courts’ “narrow function” is not to decide whether religious

         beliefs are “mistaken or insubstantial,” but to determine only whether the beliefs reflect

         “an honest conviction”) (internal quotations omitted); Abdulhaseeb, 600 F.3d at 1322 n.7

         (“neither this court nor defendants are qualified to determine that a non-pork or

         vegetarian diet should satisfy Mr. Abdulhaseeb’s religious beliefs”) (emphasis in

         original).

      123. Mr. Ajaj’s belief is religious in nature because he believes is a dictate of his religious

         faith. Moreover, Mr. Ajaj’s belief that he must observe halal is well-founded in religious

         texts and tradition.

      124. Defendant BOP has conceded that Mr. Ajaj’s belief that he must observe a halal diet is
         sincerely-held.

                                2. Mr. Ajaj met his prima facie burden to demonstrate that his
                                   sincerely held religious belief that he must observe a halal diet
                                   is substantially burdened by Defendant BOP.

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      125. “[A] religious exercise is substantially burdened under [42 U.S.C. § 2000bb-1] when a

         government (1) requires participation in an activity prohibited by a sincerely held

         religious belief, or (2) prevents participation in conduct motivated by a sincerely held

         religious belief, or (3) places substantial pressure on an adherent either not to engage in

         conduct motivated by a sincerely held religious belief or to engage in conduct contrary to

         a sincerely held religious belief, such as where the government presents the plaintiff with

         a Hobson’s choice—an illusory choice where the only realistically possible course of

         action trenches on an adherent’s sincerely held religious belief.” Abdulhaseeb, 600 F.3d

         at 1315.

      126. Mr. Ajaj has sought to eat a diet that comports with his religious beliefs as a Sunni

         Muslim. Failing to provide Mr. Ajaj with a halal-certified diet that includes meat

         substantially burdens his religious exercise by “preventing participation in conduct

         motivated by a sincerely held religious belief.” Id.

      127. The Supreme Court said in upholding RLUIPA, RFRA’s sister-statute, see 42 U.S.C. §

         2000cc-5(4), that courts “must be satisfied that the Acts proscriptions are and will be

         administered neutrally among different faiths,” and cited the provision of kosher food for

         Jews but not halal food for Muslims as an example of the kind of restriction RLUIPA was

         intended to correct. Cutter, 544 at 716 n.5 (citing legislative history).

      128. Mr. Ajaj was completely precluded from observing a halal-diet until the eve of trial, as

         Defendant BOP did not offer Mr. Ajaj a halal-certified diet through Food Services until

         Friday, August 24, 2018. Mr. Ajaj’s sincerely-held religious belief that he must consume

         a fully halal diet remains substantially burdened because he still receives breakfast foods

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         and side dishes, such as bread and condiments, that are not halal.

                            3. The Court can still provide Mr. Ajaj meaningful relief.

      129. Because the BOP is not providing Mr. Ajaj a fully halal diet, prospective relief remains

          available. The central question in any mootness inquiry is whether the court remains

          able to afford meaningful relief. S. Utah Wilderness All. v. Smith, 110 F.3d 724, 727

          (10th Cir. 1997). “[A] case is not moot when there is some possible remedy, even a

          partial remedy or one not requested by the plaintiff.” Rezaq, 677 F.3d at 1010.

      130. This Court can still grant meaningful relief in the form of a declaratory judgment, which

          will legally establish that Defendant BOP has violated Mr. Ajaj’s rights by failing to

          provide him a fully halal diet.

      131. Further, this Court can award meaningful relief in the form of an injunction. “[T]he

          question is not whether the precise relief sought at the time the application for an

          injunction was filed is still available. The question is whether there can be any effective

          relief.” Cantrell v. City of Long Beach, 241 F.3d 674, 678 (9th Cir. 2001) (internal

          quotations omitted).

      132. Mr. Ajaj remains in need of injunctive relief from this Court because he continues to be

         served forbidden (haram) foods, and because the partial relief granted via the Krueger

         memo is expressly temporary.



             B. Even if Mr. Ajaj’s claim is moot because Defendant BOP’s last-minute
                conduct alleviated the burden, the voluntary cessation exception to mootness
                applies, and Defendant BOP has not met its burden to prove otherwise.

      199.The voluntary cessation exception to mootness applies to Mr. Ajaj’s halal claim. It is


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          well-settled that “a defendant’s voluntary cessation of a challenged practice does not

          deprive a federal court of its power to determine the legality of a practice.” Friends of

          the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S. 167, 189 (2000) (quoting City of

          Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982)).

      200.“[T]he court’s power to grant injunctive relief survives discontinuance of the illegal

          conduct.” U.S. v. W.T. Grant Co., 345 U.S. 629, 897 (1953). Otherwise, the defendant

          would be “free to return to his old ways.” Id. at 632.

      201.A defendant’s voluntary cessation of a challenged practice cannot moot a claim “unless

          subsequent events make it absolutely clear that the allegedly wrongful behavior could

          not reasonably be expected to recur.” Friends of the Earth, 528 U.S. at 189 (internal

          quotations omitted).

      202.Moreover, defendants have the “‘heavy burden of persua[ding]’ the court that the

          challenged conduct cannot reasonably be expected to start up again.” Id. (citations

          omitted; alteration in original).

      203.Reforms undertaken under pressure of litigation generally do not moot injunctive claims

          unless they involve a very convincing indication that the change of position is

          permanent. Akers v. McGinnis, 352 F.3d 1030, 1035-36 (6th Cir. 2003) (where the

          promulgation of rules is within the sole discretion of prison system, there is no guarantee

          prison system will not change back to other rules when the action terminates); Sasnett v.

          Litscher, 197 F.3d 290, 291 (7th Cir. 1999) (rule change did not moot case where prison

          officials said they had no intention of going back to the old rule but refused to concede

          that the old rule was unlawful).


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      204.“The possibility that [the defendant] may change its mind in the future is sufficient to

          preclude a finding of mootness.” United States v. Generix Drug Corp., 460 U.S. 453,

          456 n.6 (1983).

      205.Ultimately, “[i]t is no small matter to deprive a litigant of the rewards of its efforts. . . .

          Such action on grounds of mootness would be justified only if it were absolutely clear

          that the litigant no longer had any need of the judicial protection that is

          sought.” Adarand Constructors, Inc. v. Slater, 528 U.S. 216, 224 (2000).

      206.Indeed, the Supreme Court has cautioned that “[i]t is the duty of the courts to beware of

          efforts to defeat injunctive relief by protestations of repentance and reform, especially

          when abandonment seems timed to anticipate suit, and there is probability of

          resumption.” United States v. Or. State Med. Soc’y, 343 U.S. 326, 333 (1952).

      207.Until August 24, 2018, Defendant BOP asserted that its “Certified Religious Diet” menu,

          which carries only a kosher certification, was sufficient for Muslims’ dietary obligations.

          After three years of litigation, Defendant BOP abruptly changed course and is now

          providing a partially halal-certified diet to Mr. Ajaj. Defendant argues that its delay in

          providing Mr. Ajaj with halal-certified meals was due to the inherent slow pace of

          bureaucracy. Yet on the eve of trial, it was able to accomplish in 48 hours what it would

          not do for the three years this litigation has been pending and for the decades Mr. Ajaj

          has been requesting halal meals.

      208.For years, Defendant BOP had knowledge of, and access to, the very meals it began

          providing Mr. Ajaj on the eve of trial. See ¶¶ 9 & 10. Despite the fact that Defendant

          BOP made some these shelf-stable meals available to prisoners through the SPO process


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          throughout the duration of this litigation, the BOP refused to serve Mr. Ajaj these meals

          until the last business day before trial.

      209.But that which can be expediently created can also be expediently retracted. See

          Aladdin’s Castle, 455 U.S. at 1074-75 (city’s repeal of objectionable language in its

          ordinance does not preclude city from reenacting same provision again if District Court’s

          order were vacated); see also Generix Drug Corp. 460 U.S at 456 n. 6 (“The possibility

          that respondent may change its mind in the future is sufficient to preclude a finding of

          mootness”) (internal citations omitted); Mack v. Suffolk County, 191 F.R.D. 16, 21 (D.

          Mass. 2000) (although new policy diminished chances that plaintiff detainees would be

          strip searched without reasonable individualized suspicion, it did not eliminate that

          possibility; consequently, absent the imperative imposed by an injunction, defendants

          would be free to reinstate the objectionable practice at any time) (citing Aladdin's Castle,

          455 U.S. at 288).

      210.Defendant BOP’s own policy-making directive demonstrates the impermanence of the

          Krueger memo. Attachment 2 at 13. The BOP Directives Management Manual, which

          “prescribe[s] policy, standards, and implementing procedures for Bureau directives,”

          states: “Generally, it is preferable that Bureau-wide instructions and requirements be

          communicated by formal directives rather than by such means as memoranda . . . since

          these less formal documents are not authenticated, numbered, annually reviewed, or

          historically traced.” Id. at 13. It goes on to say that, “[i]t is vital that staff, including

          those who have authority to issue formal directives, not attempt to use less formal

          communications to change or replace a formal directive.” Id. at 14. In direct


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           contravention of its own “policy on policy,” the BOP has chosen an informal, easily

           retractable memorandum through which to announce its provision of a halal-certified

           diet to Mr. Ajaj.

       211.The timing of Defendant BOP’s provision of halal-certified meals to Mr. Ajaj also calls

           into question whether those changes are merely tactical attempts to manipulate this

           Court’s jurisdiction. It is not plausible that Defendant BOP was unable to provide these

           meals earlier because the BOP already sold meals from the same halal vendor through its

           SPO program. Plaintiff’s Ex. 39; Testimony of David Floyd. The judiciary has an

           “interest in preventing litigants from attempting to manipulate the Court’s jurisdiction.”

           City of Erie v. Pap’s A.M., 529 U.S. 277, 288 (2000). As a consequence, courts do not

           allow a party’s “strategic manipulation” to divest them of their jurisdiction to resolve

           cases. Seneca-Cayuga Tribe v. Nat’l Indian Gaming Comm’n, 327 F.3d 1019, 1029 (10th

           Cir. 2003).7

       212.Because Defendant BOP has not met its burden to demonstrate that its partial provision

           of halal-certified meals to Mr. Ajaj on the eve of trial is a permanent change, the

           voluntary cessation exception to the mootness doctrine applies here. The timing and


   7
     District courts “possess certain inherent powers, not conferred by rule or statute, to manage
   their own affairs so as to achieve the orderly and expeditious disposition of cases. That authority
   includes the ability to fashion an appropriate sanction for conduct which abuses the judicial
   process.” Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1182 (2017). There is
   nothing that restricts a court’s ability to find for a plaintiff who has been unduly prejudiced by a
   defendant’s misconduct — conduct that has undermined the judicial process and the judiciary’s
   role and wasted its, and in turn other litigants’, time and resources. See, e.g., Eash v. Riggins
   Trucking Inc., 757 F.2d 557, 568 (3d Cir. 1985) (recognizing “the importance and necessity of
   some kind of sanction as one of the reasonable and flexible instruments for curbing abuse of the
   judicial process” and vesting the district court with “discretion and sound judgment in dealing
   with the myriad methods in which [parties and] lawyers may abuse the judicial process”).
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          manner in which Defendant BOP has begun providing Mr. Ajaj halal-certified meals is

          unambiguously in response to litigation, and Defendant has failed to show the requisite

          guarantee of permanency. See Keohane v. Jones, 4:15cv511-MW/CAS, 2018

          WL4006798, at *6-8 (N.D. Fla. Aug. 22, 2018) (finding, after bench trial, defendant

          prison official did not meet burden to demonstrate inapplicability of voluntary cessation

          exception to mootness where changes were “too little too late to moot” prisoner’s claims

          and “an attempt to manipulate jurisdiction” when defendant “chose to right some wrongs

          only after it was faced with a lawsuit in federal court”) (emphasis in original).

      213.Defendant BOP retains sole discretion in determining whether the partial relief it has

          granted should continue. In the absence of an injunction, Defendant BOP remains “free

          to return to [its] old ways,” Friends of the Earth, 528 U.S. at 189, at any time by

          rescinding or otherwise abrogating the memo Warden Krueger authored.

      214.Defendant BOP accomplished, on the afternoon of the last business day before trial,

          what it had been unable or unwilling to do for three years. Its abandonment of its former

          policy on the eve of trial points towards the probability of resumption, and its last-minute

          decision to provide Mr. Ajaj with a diet not offered to anyone else directly contradicts

          the putative compelling interest Defendant BOP asserts regarding Mr. Ajaj’s imam

          claim.




             C. Defendant BOPs conduct demonstrates that the agency lacks a compelling
                government interest in preventing Mr. Ajaj from maintaining a halal diet.




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           215.After a plaintiff satisfies his prima facie burden under RFRA by showing that the

               government has substantially burdened a sincerely-held religious belief, “the burden of

               proof shifts to the defendants to show the substantial burden results from a ‘compelling

               governmental interest’ and that the government has employed the ‘least restrictive

               means’ of accomplishing its interest. 42 U.S.C. § 2000cc-l(a).” Abdulhaseeb, 600 F.3d at

               1318.

           216.Defendant BOP has neither articulated nor demonstrated a compelling government

               interest in denying Mr. Ajaj a halal-certified diet. In fact, it has demonstrated it does not

               have a compelling interest in denying Mr. Ajaj a halal-certified diet by providing him

               one on the eve of trial. The BOP has presumably concluded that the risk of treating Mr.

               Ajaj differently than others is not so great as to preclude it from providing him alone a

               halal-certified diet through Food Services. Thus, Defendant BOP has no compelling

               governmental interest in refusing to continue doing so.

    III.      Imam

                  A. Mr. Ajaj’s claim for meaningful access to an imam is not moot.

           217.As with his request for halal meals, Mr. Ajaj’s request for meaningful access to an imam

               is not moot because this Court can still grant meaningful relief. “The burden of

               demonstrating mootness ‘is a heavy one,’ Davis, 440 U.S. at 631 (quoting W.T. Grant

               Co., 345 U.S. at 632–33), and it falls upon the BOP to carry that burden in this case.”

               Rezaq, 677 F.3d at 1008.




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      218.Defendant BOP has failed to carry that burden because it continues to impose a

          substantial burden on Mr. Ajaj’s religious practice by continuing to deny him meaningful

          access to an imam.

                             1. Mr. Ajaj met his prima facie burden to demonstrate that he has
                                a sincerely-held religious belief in requiring regular,
                                meaningful access to an imam for religious guidance.

      219.Mr. Ajaj sincerely believes he is religiously obligated to seek spiritual guidance from an

          imam who is well-versed in sources of Islamic law. Testimony of Ahmad Ajaj.

      220.In Islam, religion pervades every action a person takes. Testimony of Dr. Seth Ward.

          When evaluating the divine impact of actions or inactions, Muslims often turn to imams

          for guidance based upon their extensive knowledge of Islamic religious authorities such

          the Qur’an, hadith, sunnah, and other sources of Islamic law. Testimony of Ahmad Ajaj;

          Testimony of Mohammed Shnewer; Testimony of Dr. Seth Ward; Testimony of Ammar

          Amonette.

      221.Mr. Ajaj seeks regular and meaningful access to an imam in order to obtain the guidance,

          founded in established sources of Islamic law, he sincerely believes he is required to

          seek.

      222.Neither Islamic expert in this case contested that Mr. Ajaj’s beliefs are religious in

          nature, and courts routinely hold that accessing pastoral care is a religious exercise. See,

          e.g., Saleem v. Evans, 866 F.2d 1313, 1314 (11th Cir. 1989) (recognizing constitutional

          claim where member of the Nation of Islam complained that the only Muslim minister

          authorized to enter the prison was from the American Muslim Mission); Rowe v. Davis,

          373 F. Supp. 2d 822, 826–27 (N.D. Ind. 2005) (holding that “[m]eeting with a religious


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          leader of his own faith may not be compelled by or central to Mr. Rowe’s system of

          religious belief, but he alleges that it is a part of his exercise of religion. That is to say

          that meeting with a religious leader of his own faith is a part of the way Mr. Rowe

          practices and expresses his religious beliefs. Therefore, meeting with a religious leader

          of his own faith is a religious exercise”).

      223.Because “the threshold for establishing the religious nature of his beliefs is low,” and the

          “external signs” of Mr. Ajaj’s requests rest squarely upon an Islamic foundation, his

          beliefs are religious in nature. United States v. Meyers, 95 F.3d 1475, 1482–83 (10th Cir.

          1996).

      224.Moreover, Defendant BOP has conceded the sincerity of Mr. Ajaj’s belief. Defendant

          BOP opening statement.

                                 2.       Mr. Ajaj met his prima facie burden to demonstrate
                                          that his religious belief has been and continues to be
                                          burdened by Defendant BOP.

      225.“[A] religious exercise is substantially burdened under [42 U.S.C. § 2000bb-1] when a

          government (1) requires participation in an activity prohibited by a sincerely held

          religious belief, or (2) prevents participation in conduct motivated by a sincerely held

          religious belief, or (3) places substantial pressure on an adherent either not to engage in

          conduct motivated by a sincerely held religious belief or to engage in conduct contrary to

          a sincerely held religious belief, such as where the government presents the plaintiff with

          a Hobson's choice—an illusory choice where the only realistically possible course of

          action trenches on an adherent's sincerely held religious belief.” Abdulhaseeb, 600 F.3d

          at 1315.


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      226.Until a mere five days before trial, Mr. Ajaj had no access to an imam.

      227.On August 16, 2018, Defendant BOP signed a one-month contract with Mr. Bashar

          Murad, an Islamic Spiritual Guide it had previously contracted with but whose contract it

          declined to renew in 2017.

      228.Mr. Murad has espoused various views considered to be apostacy by several members of

          the Sunni Muslim community in USP-Terre Haute. Testimony of Dr. Seth Ward;

          Testimony of Ahmad Ajaj; Testimony of Raheem Hankerson; Testimony of Mohamad

          Shnewer.

      229.By hiring an Islamic Spiritual Guide for the LCP who espouses these views, and

          requiring Mr. Ajaj to attend his classes as a condition of continuing in the LCP,

          Defendant BOP has not only failed to alleviate the substantial burden it places on Mr.

          Ajaj’s religious exercise, it has further infringed upon the “beliefs that [Mr. Ajaj] hold[s]

          dear.” Cancel v. Mazzuca, 205 F. Supp. 2d 128, 133 (S.D.N.Y. 2002).

      230.Mr. Ajaj continues to suffer a substantial burden on his religious exercise because

          “differences between the historical and doctrinal beliefs, as well as the religious

          practices, of [Mr. Murad and Sunni Muslims] are significant. The nature of these

          differences mandates the conclusion that [Defendant BOP]’s determination that the

          spiritual needs of the inmates of the [Sunni Muslim] faith can be met in religious

          services led by chaplains of [a different sect] is arbitrary and capricious.” Cancel, 205 F.

          Supp. 2d at 135 (internal quotations omitted).




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      231.Further, Mr. Murad is now teaching the LCP classes that Mr. Ajaj is required to attend

          should he wish to continue in the LCP and live in the LCP unit – the only unit where he

          is able to perform some of his daily salat prayers with other Muslims.

      232.As a result, Defendant BOP has forced Mr. Ajaj to make a “Hobson’s choice” wherein

          he must choose between options, each of which “trenches on [his] sincerely held

          religious belief[s].” Id. at 1315.

      233.Specifically, Mr. Ajaj sincerely believes that he must not listen to blasphemy from or

          associate with apostates who profess to be Muslim. In order to abstain from being

          confronted with such statements made by Mr. Murad, a self-identified Muslim and the

          Islamic Spiritual Guide in the LCP, Mr. Ajaj has several choices, all of which trample on

          his sincerely-held beliefs in one way or another.

      234.First, he could choose to skip the LCP classes. Should he do so, however, he risks being

          expelled from LCP as nonattendance constitutes an unexcused absence. If he is expelled

          from the program, Mr. Ajaj will no longer be able to pray any of his daily salat prayers

          in a group—something that only LCP participants are allowed to do. Additionally,

          Chaplain Sutter testified that expulsion from the LCP program prevents Mr. Ajaj from

          ever re-enrolling.

      235.Second, Mr. Ajaj could remain enrolled in the LCP and remain able to access some daily

          group prayer opportunities by attending Mr. Murad’s classes. Doing so, however, would

          require Mr. Ajaj to violate his sincerely-held religious belief that he must avoid or

          confront apostasy.

      236.Third, Mr. Ajaj could voluntarily withdraw from the LCP. Because the LCP is a


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          residential program, Mr. Ajaj risks being removed from the housing unit and suffering

          the consequent inability to engage in group prayer for any of the daily salat prayers. It is

          also probable that he would never regain the ability to perform some of his daily salat

          prayers with others since this privilege is only extended to residents in the LCP unit,

          housing in the unit is typically limited to those persons enrolled in the program, and Mr.

          Ajaj does not meet the stated criteria for the LCP – although an apparent exception was

          made for him this time around.

      237.Finally, Mr. Ajaj could change his religious preference in SENTRY so that he could

          remain enrolled in LCP and attend the “Values & Responsibilities” (secular) class rather

          than the “Islamic” class taught by Mr. Murad. If Mr. Ajaj were to do so, he would risk

          losing access to other religious accommodations the BOP provides to Muslims,

          including the ability to pray some of the five daily salat prayers in congregation in the

          LCP unit, accommodations for fasting during Ramadan, his halal diet, Muslim burial

          rites, and other religious accommodations limited to those prisoners designated as

          “Muslim” in SENTRY.

      238.Furthermore, if Mr. Ajaj were to change his religious preference in the BOP’s system, he

          would be violating his religious beliefs by disavowing his religion and committing

          apostasy. Testimony of Dr. Seth Ward. For many Muslims, including Mr. Ajaj, religious

          identity is an integral component of religious practice. Id.

      239.Thus, Defendant BOP’s last-ditch effort to moot this case by temporarily hiring a month-

          to-month contract Islamic Spiritual Guide has not only failed to alleviate the substantial

          burden placed on Mr. Ajaj’s religious exercise, but also has presented Mr. Ajaj with new


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          illusory choices wherein he must violate or risk violating his sincerely-held religious

          beliefs. These choices amount to the exact type of Hobson’s choice the Tenth Circuit

          found created a substantial burden in Abdulhaseeb.

                         3. The Court can still provide Mr. Ajaj meaningful relief.

      240.Mr. Ajaj continues to suffer a substantial burden on his sincerely held religious belief

          that he must regularly and meaningfully consult with a learned imam, and this Court

          remains able to grant meaningful declaratory and injunctive relief.

      241.Because the BOP is not providing Mr. Ajaj meaningful access to any imam with whom

          consultation would not require Mr. Ajaj to violate his sincerely-held religious beliefs,

          prospective relief remains available. The central question in any mootness inquiry is

          whether the court remains able to afford meaningful relief. S. Utah Wilderness All., 110

          F.3d at 727. “[A] case is not moot when there is some possible remedy, even a partial

          remedy or one not requested by the plaintiff.” Rezaq, 677 F.3d at 1010.

      242.This Court can still grant meaningful relief in the form of a declaratory judgment, which

          will legally establish that Mr. Ajaj’s rights are violated. Further, this Court can award

          meaningful relief in the form of an injunction. “[T]he question is not whether the precise

          relief sought at the time the application for an injunction was filed is still available. The

          question is whether there can be any effective relief.” Cantrell, 241 F.3d at 678 (internal

          quotations omitted).

      243.Moreover, injunctive relief remains available as Mr. Ajaj remains unable to access

          appropriate pastoral care in the form of meaningful access to an imam.




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             B. Even if Mr. Ajaj’s claim is moot because of Defendant BOP’s last-minute
                conduct, the voluntary cessation exception to mootness applies, and
                Defendant BOP has not met its burden to prove otherwise.

      244. “Voluntary cessation of offensive conduct will only moot litigation if it is clear that the

          defendant has not changed course simply to deprive the court of jurisdiction.” Rio

          Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1115 (10th Cir.

          2010).

      245.Defendant BOP argues that its expedited hire of an Islamic Spiritual Guide on a 30-day

          renewable contract basis moots Mr. Ajaj’s claim. But the formerly-terminated Islamic

          Spiritual Guide was expressly hired “[d]ue to the urgent need of the facility and expense

          related to court litigation . . . .” Defendant’s Exhibit B-17 at 19261; see also Testimony

          of Cheeks.

      246.Defendant BOP’s last-minute hire of a previously undesirable Islamic Spiritual Guide

          smacks of classic voluntary cessation. The Supreme Court has made clear “[i]t is well

          settled that ‘a defendant’s voluntary cessation of a challenged practice does not deprive a

          federal court of its power to determine the legality of the practice.” Friends of the Earth,

          528 U.S. at 189 (quoting Aladdin’s Castle, 455 U.S. at 289). “[I]f it did, the ‘[t]he courts

          would be compelled to leave ‘[t]he defendant . . . free to return to his old ways.’”

          Friends of the Earth, 528 U.S. at 189.

      247.That precise risk exists here. In the days leading up to trial, Defendant BOP proved just

          how quickly it can implement changes in its practices when motivated to do so in order

          to elude a judicial determination about its conduct. This raises the serious concern that

          the accommodation implemented on the eve of trial could be taken away just as abruptly


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          as it was provided. There is no guarantee that the Islamic Spiritual Guide whose services

          Defendant BOP has contracted for until September 19, 2018—or any imam—will be

          made available to Mr. Ajaj for more than a month.

      248.Accordingly, given the BOP’s burden of proof, the month-to-month hire of an Islamic

          Spiritual Guide to serve one unit in USP-Terre Haute “cannot be viewed as a statement

          of current policy, but must instead be understood as a mid-litigation change of course.”

          Heyer v. United States Bureau of Prisons, 849 F.3d 202, 220 (4th Cir. 2017).

      249.“A change of activity by a defendant under the threat of judicial scrutiny is insufficient

          to negate the existence of an otherwise ripe case or controversy [under the voluntary

          cessation exception to mootness].” Armster v. United States Dist. Court, 806 F.2d 1347,

          1357 (9th Cir. 1986).

             C. Defendant BOP’s conduct demonstrates that the agency lacks a compelling
                government interest in preventing Mr. Ajaj from regular, meaningful access
                to an imam.

      250. Pursuant to the BOP’s own regulations, “[i]f requested by an inmate, the chaplain shall

          facilitate arrangements for pastoral visits by a clergyperson or representative of the

          inmate’s faith.” 28 C.F.R. 548.19 (emphasis added).

      251.“RFRA[] makes clear that it is the obligation of the courts to consider whether

          exceptions [to rules of general applicability] are required under the test set forth by

          Congress. That test requires the [prison] not merely to explain why it denied the

          exemption but to prove that denying the exemption is the least restrictive means of

          furthering a compelling governmental interest. Prison officials are experts in running

          prisons and evaluating the likely effects of altering prison rules, and courts should


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          respect that expertise. But that respect does not justify the abdication of the

          responsibility, conferred by Congress, to apply [RFRA’s] rigorous standard.” Holt, 135

          S. Ct. at 864 (internal quotations omitted) (emphasis added).

      252. “. . . [I]nadequately formulated prison regulations and policies grounded on mere

          speculation, exaggerated fears, or post-hoc rationalizations will not suffice to meet the

          act’s requirements.” Abdulhaseeb, 600 F.3d at 1318 (internal quotations omitted).

      253.RFRA “requires the Government to demonstrate that the compelling interest test is

          satisfied through application of the challenged law ‘to the person’—the particular

          claimant whose sincere exercise of religion is being substantially burdened.” Hobby

          Lobby, 134 S. Ct. at 2779 (quoting Gonzales, 546 U.S. at 430-31).

      254. RFRA requires the Court to “‘scrutinize the asserted harm of granting specific

          exemptions to particular religious claimants’ and ‘to look to the marginal interest in

          enforcing’ the challenged government action in that particular context. Holt v. Hobbs,

          135 S. Ct. 853, 863 (2015) (quoting Hobby Lobby at 2779) (internal alterations omitted).

      255. “Requiring a State to demonstrate a compelling interest and show that it has adopted the

          least restrictive means of achieving that interest is the most demanding test known to

          constitutional law.” City of Boerne v. Flores, 521 U.S. 507, 534 (1997). Defendant BOP

          must sufficiently demonstrate its compelling interest; it cannot merely assert “broadly

          formulated interests” that generally sound compelling. Holt, 135 S. Ct. at 863.

      256. Defendant BOP has stated that it cannot provide Mr. Ajaj meaningful access to a BOP

          imam from a different institution via telephone because it would create a security risk

          due to “special treatment.” This argument is unavailing.


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      257.Defendant BOP has demonstrated the exact opposite by creating, at the direction of the

          Director of the BOP, a halal-certified diet solely provided to Mr. Ajaj.

      258.Defendant BOP cannot use “special treatment” both as a sword and as a shield, and its

          attempt to do so demonstrates that the risks associated with the perception of special

          treatment can be effectively mitigated and are therefore not compelling.

      259.Moreover, to the extent the BOP’s interest in avoiding “special treatment” is a

          compelling one, Defendant BOP has failed to carry its burden of persuasion. “Even if it

          can easily accommodate Mr. [Ajaj], the prison insists that granting his request will lead

          other [ ] inmates to flood it with similar requests . . . . And avoiding a slippery slope

          down to submerged troubles just out of present view, the prison suggests, amounts to a

          compelling interest all its own.” Yellowbear v. Lampert, 741 F.3d 48, 62 (10th Cir.

          2014).

      260.But “the whole point of RFRA and RLUIPA is to make exceptions for those sincerely

          seeking to exercise religion. (“RFRA operates by mandating consideration, under the

          compelling interest test, of exceptions to rules of general applicability.”). Id.

      261.“It can’t be the case that the speculative possibility that one exception conceivably might

          lead to others is always reason enough to reject a request for the first exception. Instead,

          the Court tells us, the feasibility of requested exceptions usually should be assessed on a

          ‘case-by-case’ basis, taking each request as it comes: accommodations to avoid

          substantial burdens must be made until and unless they impinge on a demonstrated

          compelling interest.” Id.




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      262.“The Court has recognized the possibility that there may be cases where that approach is

          inappropriate and the ‘need for uniformity precludes the recognition’ of any exceptions

          to anyone, or where a well-documented slippery slope argument could support such a

          uniform rule. But one thing is certain. To warrant any of that, the law requires

          considerably more than milquetoast musing that granting one request might lead to

          others.” Id.

      263.Defendant BOP did not present any evidence that providing Mr. Ajaj with meaningful

          access to an imam will “lead other inmates to flood it with similar requests” (Yellowbear,

          741 F.3d at 62), nor has it presented any evidence demonstrating that providing this

          exception to Mr. Ajaj alone is infeasible.

      264.Moreover, Chaplain Castle testified that he has spoken on the phone with prisoners to

          provide spiritual guidance. Mr. Ajaj testified that he has spoken with BOP imams from

          other institutions on the phone. The testimony at trial demonstrates the BOP can

          overcome any interest it has in denying Mr. Ajaj, at the very least, to speak by telephone

          with one of the BOP imams on staff at other institutions.

      265.Defendant went on to loosely style its compelling interests as an administrative burden.

          Both Chaplain Castle and Chaplain Sutter testified that they are very busy and likely

          would not have time to regularly speak with a prisoner to provide spiritual guidance. Yet

          both also testified that they give spiritual guidance to prisoners from the same faith

          traditions on a regular basis seemingly without issue, demonstrating that this Court could

          order the BOP to provide Mr. Ajaj regular access to an imam over the telephone on a

          regular basis. Simply put, Defendant BOP has failed to show a compelling interest in


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          refusing Mr. Ajaj access to a BOP imam.

             D. Even if its “preferential treatment” interest is compelling, Defendant BOP
                has not met its burden to demonstrate that the Minister of Record is the least
                restrictive means of meeting its interest because it has utilized other tools to
                allow Mr. Ajaj to meet or speak with an imam in the past.

      266.Defendant also argues that Mr. Ajaj can utilize a “minister of record” to meet his

          religious needs.

      267.In order to meet with an imam through the minister of record option, a prisoner’s

          SENTRY designation must be “Muslim.”

      268.Appointing a minister of record allows prisoners to speak on the phone and have

          standard visits with a faith leader of their own choosing from the community. Pursuant to

          BOP policy, the faith leader is selected by the inmate and approved by the Religious

          Services Department. Visits with a minister of record occur in the visiting room, and

          they also may speak on the phone.

      269.The minister of record option is not the least restrictive means of accommodating Mr.

          Ajaj’s religious exercise. Because minister of record visits occur in the visiting room, in

          order to meet with a minister of record in person, Mr. Ajaj would be required to violate

          his sincerely-held religious belief by submitting to a strip search which exposes his entire

          body. Moreover, he would be precluded from performing salat prayers with any such

          imam and would remain without a qualified leader of jumu’ah.

      270.Identifying and speaking with a minister of record over the phone is similarly

          problematic. Mr. Ajaj’s contact with the outside world is severely limited, and

          ultimately, dictated by the BOP. Mr. Ajaj has sought assistance from the BOP in

          working to identify a minister of record. His requests have been denied.

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      271. Mr. Ajaj testified that he asked the BOP to allow him to contact his family imam in

          Palestine. That request was denied.

      272. Mr. Ajaj requested that the BOP allow him to contact mosques and Islamic Centers in

          Indiana in order to recruit Islamic volunteers to serve the Muslim population at USP-

          Terre Haute. That request was also denied.

      273.Even Mr. Shnewer, another Muslim prisoner at USP-Terre Haute who was able to make

          contact with an interested local imam was unable to secure his services as a minister of

          record because the BOP failed to return his calls.

      274.Mr. Shnewer was once able to speak with an imam over the phone because when he

          called his mother on her cell phone, she happened to be inside his family’s mosque and

          she put the imam on the phone to speak with him. Not even this imam, who was Mr.

          Shnewer’s religious leader before he was incarcerated, became an official “minister of

          record” for Mr. Shnewer.

      275.The minister of record option presents yet another substantial burden on Mr. Ajaj’s

          sincerely held religious beliefs, and is merely an illusory choice presented to him by

          Defendant BOP.

      276.The BOP has available, and has utilized in the past, less restrictive alternatives including

          sending a BOP imam to an institution on a temporary duty assignment and arranging

          regular weekly calls between a BOP imam and Mr. Ajaj. It has not met its burden of

          demonstrating that it could not do so again here until it hires a permanent, full-time

          imam at USP-Terre Haute.




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                                  CONCLUSION AND JUDGMENT

          Defendant BOP has substantially burdened Mr. Ajaj’s religious rights by

          Accordingly, it is therefore ordered that judgment shall enter in favor of the Plaintiff,

   Ahmad Ajaj, and against Defendant Federal Bureau of Prisons:

          (1)     declaring that Defendant has violated Plaintiff’s rights under RFRA by failing to

   provide him access to a halal diet and meaningful access to an imam, and it has not demonstrated

   a compelling government interest justifying those burdens; and

          (2)     enjoining the Federal Bureau of Prisons to: (a) comply with the terms of the

   Krueger memo and to provide Mr. Ajaj with halal-certified meals from the same vendors it is

   now using in the event Defendant BOP transfers Mr. Ajaj to a new institution, until and unless

   Defendant BOP institutes a halal-certified menu nationwide; and (b) provide Mr. Ajaj weekly

   access to a BOP imam over the telephone when in-person access is unavailable.

          Pursuant to and as required by 18 U.S.C. § 3626(a)(1), the Court specifically finds and

   concludes that the prospective relief granted herein is narrowly drawn, extends no further than

   necessary to correct the violations of the federal statutory rights asserted by Mr. Ajaj, and is the

   least intrusive means necessary to correct the violation of those rights.

          Pursuant to RFRA, Mr. Ajaj is entitled to his costs and reasonable attorneys’ fees.

                                                  Respectfully submitted this 6th day of September
                                                  2018,

                                                  STUDENT LAW OFFICE

                                                  s/ Michael Bishop
                                                  Michael Bishop, Student Attorney

                                                  s/ Rachel Kennedy
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                                 CERTIFICATE OF SERVICE

            I hereby certify that on September 6, 2018 I electronically filed the
   foregoing PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF
   LAW with the Clerk of Court using the CM/ECF system, which will send electronic notification
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